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UNITED sTA TES DISTRICT Co URT
WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIVISION
RONALD BROWN, .IUDGMENT IN A CIVIL CASE
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:04-1269-B

OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

I'I` IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed With prejudice.

 

 

J. ANIEL BRizEN \
TED sTATEs DIsTRIcT COURT

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THOMASM.GOLLD

Clerk of Court

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(By) Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 1:04-CV-01269 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

